101 F.3d 713
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.In re Ulyesses B. ADAMS, Petitioner.
    Misc. No. 480.
    United States Court of Appeals, Federal Circuit.
    Nov. 01, 1996.
    MSPB
    
      1
      PETITION DISMISSED.
    
    ON MOTION
    ORDER
    
      2
      Upon consideration of the joint motion of Ulyesses B. Adams and the Merit Systems Protection Board to dismiss Adams' petition for a writ of mandamus,
    
    IT IS ORDERED THAT:
    
      3
      The motion to dismiss is granted.  The petition is dismissed.
    
    